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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

V.                                   4:15-CR-00169-02-JM

TYRONE ANDERSON

                                              ORDER

       Defendant’s Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255

(Doc. No. 332) is DENIED, because it is successive. Defendant’s first § 2255 motion was denied

on January 14, 2020.1

       As amended in April 1996 by the Antiterrorism and Effective Death Penalty Act, § 2255

requires that all successive § 2255 motions be certified by the appropriate court of appeals before

they are considered by the district courts. Because Defendant failed to obtain certification from

the Court of Appeals for the Eighth Circuit, his petition must be dismissed for lack of jurisdiction.2

       IT IS SO ORDERED this 9th day of July, 2024.


                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE




       1
           Doc. No. 215.
       2
           Boykin v. U.S., 242 F.3d 373 (8th Cir. 2000).
